                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION


  SHAILESH JAHAGIRDAR,

                      Plaintiff,                            Civil Action No. 1:20-cv-0033
   v.
                                                            JURY TRIAL DEMANDED
  THE COMPUTER HAUS NC, INC. d/b/a
  CITYMAC, a North Carolina Corporation,                    COMPLAINT
  and TROY CURRAN, an individual,

                     Defendants.




         COMES NOW Plaintiff, Shailesh Jahagirdar (“Plaintiff”), by and through undersigned

counsel, and files this complaint as follows:

         Plaintiff brings this action to recover unpaid wages, commissions, compensatory

damages, liquidated damages, and attorneys fees from Defendants, The Computer Haus NC, Inc.

and Troy Curran (collectively, “Defendants”), for violations of the Fair Labor Standards Act

(hereinafter “FLSA”), 29 U.S.C. § 201 et seq., the North Carolina Wage and Hour Act

(hereinafter “NCWHA”), N.C.G.S. § 95-2.1 et seq. and common law causes of action for

malicious prosecution, abuse of process and intentional infliction of emotional distress.

                                     NATURE OF ACTION

   1.     Plaintiff alleges that he is entitled to recover (i) unpaid minimum wages, and (ii)

          statutory penalties, including liquidated damages, pursuant to the FLSA, 29 U.S.C. §§

          201 et seq., specifically 29 U.S.C. §§ 207, 216(b).

   2.     Defendants operate retail stores selling Apple and Verizon products and offering

          training on and service of various electronic products.


                                                  1

        Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 1 of 15
                                      THE PARTIES

3.     Plaintiff Shailesh Jahagirdar is an adult individual who is a resident of Wilmington,

       North Carolina, and worked as an employee for Defendants from July 1, 2019, to

       August 10, 2019, and then from September 20, 2019, to November 25, 2019 at

       Defendants’ retail store located at 1121-A Military Cutoff Road, Wilmington, North

       Carolina 28405.

4.     Defendant, The Computer Haus NC, Inc., d/b/a CityMac (“CityMac”) is a North

       Carolina corporation, which operates retail stores across the country including in North

       Carolina - Wilmington, Asheville, Biltmore Park, South Carolina - Myrtle Beach,

       Washington - Bellingham and Burlington, and Portland ,Oregon. CityMac’s principal

       place of business is registered with the North Carolina Secretary of State at 4 S. Tunnel

       Road, Suite 210, Asheville, North Carolina 28805.

5.     Defendant, Troy Curran (“Curran”) is an officer of, and owns and operates, City Mac.

       Upon information and belief, Curran allocated compensation to employees, made wage

       payment decisions, set policy and practices regarding employee pay and made, and

       continues to make, hiring and firing decisions for CityMac.

6.     At all relevant times, Plaintiff was an “employee” as that term is defined by the FLSA

       and the NCWHA.

7.     At all relevant times, Defendants were “employers” as that term is defined by the FLSA

       and the NCWHA.

8.     Plaintiff is informed and believes, and based upon such information and belief alleges,

       that the Defendants, and each of them, are now and/or at all times mentioned in this



                                              2

     Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 2 of 15
       Complaint were in some manner legally responsible for the events, happenings, and

       circumstances alleged in this Complaint.

9.     Plaintiff is further informed and believes, and based upon such information and belief

       alleges, that at all times mentioned, all Defendants, and each of them, were and are the

       agents, servants, employees, joint venturers, alter egos, and/or partners of each of the

       other Defendants, and were, at all such times, acting within the course and scope of said

       employment and/or agency; furthermore, that each and every Defendant herein, while

       acting as a high corporate officer, director, and/or managing agent, principal, and/or

       employer, expressly directed, consented to, approved, affirmed, and ratified each and

       every action taken by the other co-Defendants, as herein alleged and was responsible in

       whole or in part for the matters referred to herein.

10.    Plaintiff is further informed and believes, and based upon such information and belief

       alleges, that at all times herein mentioned, Defendants, and each of them, proximately

       caused Plaintiff to be subjected to the unlawful practices, wrongs, complaints, injuries

       and/or damages alleged in this Complaint.

11.    Plaintiff is further informed and believes, and based upon such information and belief

       alleges, that Defendants, and each of them, are now and/or at all times mentioned in this

       Complaint were members of and/or engaged in a joint venture, partnership and common

       enterprise, and were acting within the course and scope of, and in pursuit of said joint

       venture, partnership and common enterprise and, as such were co-employers of Plaintiff.

12.    Plaintiff is further informed and believes, and based upon such information and belief

       alleges, that Defendants, and each of them, at all times mentioned in this Complaint,

       concurred with, contributed to, approved of, aided and abetted, condoned and/or



                                               3

     Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 3 of 15
      otherwise ratified, the various acts and omissions of each and every one of the other

      Defendants in proximately causing the injuries and/or damages alleged in this Complaint.

13.   Plaintiff is further informed and believes, and based upon such information and belief

      alleges, that Curran made all decisions on a daily basis regarding pay policies and exerted

      financial and operative control over CityMac, and is therefore individually liable under

      the FLSA and the NCWHA.

                               JURISDICTION AND VENUE

14.   This Court has original federal question jurisdiction under 28 U.S.C. § 1331 for the

      claims brought under the FLSA. 29 U.S.C. § 201 et. seq.

15.   Defendants principal place of business as registered with the North Carolina Secretary

      of State is listed as 4 S. Tunnel Road, Suite 210, Asheville, North Carolina 28805 and

      is situated in this District.

16.   The claims for violations of the NCWHA are based on the statutory law of the State of

      North Carolina. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 for the

      pendent state claims because they arise out of the same nucleus of operative facts as the

      FLSA claim. Plaintiff’s remaining claims are based on the common law of North

      Carolina.

17.   All of the alleged causes of action can be determined in this judicial proceeding and

      will provide judicial economy, fairness, and convenience for the parties.

                               COVERAGE ALLEGATIONS

18.   At all times hereinafter mentioned, Defendants have been an employer within the

      meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).




                                              4

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 4 of 15
19.   At all times hereinafter mentioned, Defendants have been an enterprise within the

      meaning of Section 3(r) of the FLSA 29 U.S.C. § 203(r).

20.   At all times hereinafter mentioned, Defendants have been an enterprise engaged in

      commerce or in the production of goods for commerce within the meaning of Section

      3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1), in that the enterprise has had employees

      engaged in commerce or in the production of goods for commerce, or employees

      handling, selling, or otherwise working on goods or materials that have been moved in

      or produced for commerce by any person and in that the enterprise has had and has an

      annual gross volume of sales made or business done of not less than $500,000

      (exclusive of excise taxes at the retail level which are separately stated).

21.   At all times hereinafter mentioned, Plaintiff was an employee within the meaning of

      Section 3(e) of the FLSA, 29 U.S.C. § 203(e).

22.   At all times hereinafter mentioned, Plaintiff was an individual employee who was

      engaged in commerce or in the production of goods for commerce as required by 29

      U.S.C. §§ 206-207.

23.   At all times hereinafter mentioned, Defendants have been an employer within the

      meaning of Section 95-25.2(5) of the NCWHA, N.C. Gen. Stat. §§ 95-25.2(5).

24.   At all times hereinafter mentioned, Plaintiff was an employee within the meaning of

      Section 95-25.2(4) of the NCWHA, N.C. Gen. Stat. §§ 95-25.2(4).

                                  STATEMENT OF FACTS

25.   Plaintiff was an employee of Defendants from July 1, 2019, to August 10, 2019, and

      then from September 20, 2019, to November 25, 2019 at Defendants’ retail store

      located at 1121-A Military Cutoff Road, Wilmington, North Carolina 28405.



                                              5

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 5 of 15
26.   Plaintiff was not terminated by Defendants; instead, he chose to resign effective

      November 25, 2019 as a result of how he was being treated by Defendants’

      management.

27.   Defendants own several retail stores that sell Apple and Verizon products and offer

      training on and service of various electronic products.

28.   Defendants employ sales personnel who are paid an hourly rate and are also paid a

      promised commission as part of their wages.

29.   Defendants agreed to pay Plaintiff $12 per hour in addition to a commission on his

      sales.

30.   Defendants failed to pay Plaintiff the promised $12 per hour for every hour worked

      during the time period of August 2019 - September 2019, approximately forty (40)

      hours and for the eighty (80) hours he worked during his final two weeks of

      employment with Defendants.

31.   Defendants failed to pay Plaintiff the required statutory minimum wage for every hour

      worked during the time period of August 2019 - September 2019, approximately forty

      (40) hours and for the eighty (80) hours he worked during his final two weeks’ of

      employment with Defendants.

32.   Defendants claimed that Plaintiff’s wages were deducted based on bad returns from

      Defendants’ customers that Plaintiff accepted as part of his job duties. Plaintiff never

      agreed to any deductions from his wages, and Defendants never provided Plaintiff with

      any notice that his wages were going to be deducted.

33.   Defendants’ purported deduction violated the FLSA and the NCWHA because Plaintiff

      was not paid at least the minimum wage for the hours worked or paid as promised.



                                              6

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 6 of 15
34.   Defendants presented Plaintiff with its “Commission Structure,” which provided for a

      commission based on a percentage of gross profit plus a flat amount per activation.

35.   Defendants never paid Plaintiff for any commissions that were due under the

      Commission Structure. For example, from October 1, 2019 to November 25, 2019,

      Plaintiff earned at least $450 in commissions based on his sales. These commissions

      were wages due under the NCWHA, and failure to pay these commissions constitutes a

      violation of the NCWHA.

36.   Defendants also obstructed Plaintiff’s attempts to earn certain commissions by failing

      to provide him with the credentials needed to access certain systems to complete

      necessary training.

37.   As a result of Defendants’ actions, earned commissions were wrongfully withheld and

      diverted from Plaintiff.

38.   Defendants’ policies and practices with respect to the payment of commissions were

      misleading and fraudulent, were a breach of its promises to employees, violated the

      wage provisions of the FLSA and NCWHA, and deprived Plaintiff of the lawful wages

      to which he was entitled.

39.   At all relevant times, Defendants knew that Plaintiff was not being paid minimum wage

      for every hour worked, thereby willfully violating the FLSA and NCWHA.

40.   Defendants benefitted from their unlawful failure to pay Plaintiff minimum wages and

      commissions to which he was entitled, because Defendants reaped more profit from the

      deceptive scheme.




                                            7

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 7 of 15
41.   On December 4, 2019, Plaintiff contacted Defendants to demand payment of all wages

      owed informing that he was not paid any wages for the final eighty (80) hours he had

      worked for Defendants.

42.   Defendants HR representative informed Plaintiff that his paycheck was withheld

      because: “There was an iPad air left unpaid, and two devices on early upgrade with

      extensive damage that were not approved by Verizon for trade-in. One of said devices

      needed a screen replacement, totaling approximately $169. The other device has a

      broken back glass panel, which always requires total device replacement. You were

      advised against the transaction as shown in our records but you proceeded, resulting in

      a loss of over $1000 for City Mac.”

43.   Defendants unlawfully withheld Plaintiffs’ final wages purportedly due to trade-ins

      from Defendants’ customers which were not accepted by Defendants’ vendors.

44.   On January 2, 2020, Plaintiffs’ counsel sent the attached litigation hold notice to

      Defendants - see Exhibit A.

45.   On January 3, 2020 Plaintiffs received an offer of employment from Brian Cox,

      Managing Director of Northwestern Mutual contingent upon a successful background

      check.

46.   On February 3, 2020 Plaintiff received an email from Northwestern Mutual Human

      Resources department indicating that Plaintiff had an outstanding warrant for

      “embezzlement” that was taken out by Defendants on January 16, 2020, after

      Defendants received notice of Plaintiff’s claims for unpaid wages and litigation hold

      notice.




                                              8

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 8 of 15
47.   On February 3, 2020, Brian Cox from Northwestern Mutual called Plaintiff and stated

      “they are rescinding their offer based on the allegations of embezzlement made by

      CityMac.”

                                         COUNT I

      (Violation of Fair Labor Standards Act – Failure to Pay Minimum Wages)

48.   Plaintiff reasserts the allegations set forth in the above paragraphs.

49.   Count I arises from Defendants’ violation of the FLSA, for their failure to pay at least

      minimum wage for every hour worked by Plaintiff.

50.   Defendants violated the FLSA by not paying Plaintiff for every hour that he worked.

51.   Defendants also violated the FLSA by deducting an amount from his wages that

      resulted in his wages falling below the minimum wage.

52.   Defendants’ violation of the FLSA was willful.

                                         COUNT II

                  (Violation of Fair Labor Standards Act – Retaliation)

53.   Plaintiff reasserts the allegations set forth in the above paragraphs.

54.   In doing the acts alleged above, Defendants retaliated against Plaintiff in violation of

      the FLSA. After Plaintiff engaged in protected conduct by asserting his right to receive

      the wages he earned without unauthorized deductions, Defendants retaliated against

      him by filing a false police report against him, which resulted in a warrant being issued

      for his arrest.

55.   As a direct and proximate results of the above-described violation of Plaintiff’s rights

      under the FLSA, Plaintiff has suffered damages, including but not limited to, lost

      wages, benefits and other pecuniary loss.



                                              9

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 9 of 15
56.   Defendants’ conduct was done with malice and was willful and wanton, entitling

      Plaintiff to an award of punitive damages. Defendant Curran participated in and/or

      condoned the retaliation, rendering Defendant CityMac liable for punitive damages.

                                        COUNT III

                   (Violations of North Carolina Wage and Hour Act)

57.   Plaintiff reasserts the allegations set forth in the above paragraphs.

58. Count III arises from Defendants’ policy and practice of suffering or permitting Plaintiff

      to work without paying promised and earned wages for all hours worked in violation of

      N.C. Gen. Stat. §§ 95-25.6, 95-25.7 and 95-25.13.

59. Defendants violated these statutes by failing to pay Plaintiff all promised and earned

      wages on the employees’ regular payday for all hours worked.

60. Defendants also violated Plaintiff’s rights under the NCWHA by failing to pay and

      diverting from Plaintiff earned commissions on sales that he procured before his

      employment ended on November 25, 2019.

61. Further, Defendants violated the NCWHA by unlawfully withholding or deducting

      wages in violation of N.C. Gen. Stat. §95-25.8 because Plaintiff never provided a written

      authorization to deduct any amount from his wages. Defendants never provided advance

      notice of the deduction, and Defendants deduction resulted in Plaintiff’s wages falling

      below the minimum wage amount.

62. Defendants willfully violated Plaintiff’s rights under the NCWHA.

63. As a result of Defendants’ willful action, Plaintiff is entitled to recover liquidated

      damages pursuant to N.C. Gen. Stat. § 95-25.22.




                                              10

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 10 of 15
64. Plaintiff is entitled to recover his attorneys fees pursuant to N.C. Gen. Stat. § 95-

       25.22(d).

                                           COUNT IV

                                    (Malicious Prosecution)

65.     Plaintiff reasserts the allegations set forth in the above paragraphs.

66.     Defendants caused criminal proceedings to be initiated against Plaintiff with malice and

        without probable cause.

67.     The criminal proceedings have been or will be terminated in Plaintiff’s favor.

68.     Defendants’ actions were in violation of North Carolina common law and caused

        Plaintiff to suffer damages, including loss of a job offer from Northwestern Mutual,

        severe emotional distress and mental injury.

69. Defendants’ conduct was done with malice and was willful and wanton, entitling Plaintiff

      to an award of punitive damages. Defendant Curran participated in and/or condoned the

      malicious prosecution, rendering Defendant CityMac liable for punitive damages.

                                                COUNT V

                                           (Abuse of Process)

70. Plaintiff reasserts the allegations set forth in the above paragraphs.

71. In doing the acts alleged above, Defendants had an ulterior motive to achieve a collateral

      purpose not within the normal scope of the process used. Defendants’ ulterior motive was

      to retaliate against Plaintiff for asserting his legal rights and to intimidate Plaintiff from

      pursuing legal action to protect those rights, seeking to gain an advantage in any civil suit

      against them.




                                                 11

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 11 of 15
72. In doing the acts alleged above, Defendants committed an act that was a malicious

   misuse or misapplication of that process after issuance to accomplish some purpose not

   warranted or commanded.

73. Defendants’ actions were in violation of North Carolina common law and caused Plaintiff

   to suffer damages, including loss of a job offer from Northwestern Mutual, severe

   emotional distress and mental injury.

74. Defendants’ conduct was done with malice and was willful and wanton, entitling Plaintiff

   to an award of punitive damages. Defendant Curran participated in and/or condoned the

   abuse of process, rendering Defendant CityMac liable for punitive damages.

                                            COUNT VI

                          (Intentional Infliction of Emotional Distress)

75. Plaintiff reasserts the allegations set forth in the above paragraphs.

76. In doing the acts alleged above, Defendants engaged in extreme and outrageous conduct.

   Defendants’ conduct of initiating criminal charges against Plaintiff months after Plaintiff

   resigned and only after retained counsel and demanded Defendants pay him the wages

   owed to him goes beyond all possible bounds of decency, and to be regarded as atrocious,

   and utterly intolerable in a civilized community.

77. Defendants’ punitive and retaliatory conduct of initiating baseless criminal charges to

   avoid paying wages was intended to, and did in fact, cause Plaintiff severe emotional

   distress.

78. As an actual, proximate, and foreseeable result of the above-mentioned actions, Plaintiff

   has suffered lost back and front pay, lost benefits, severe emotional distress, severe




                                              12

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 12 of 15
   physical distress, anxiety, depression, embarrassment, humiliation, physical pain and

   suffering, and his peace of mind has been disturbed.

79. Defendants’ conduct was done with malice and was willful and wanton, entitling Plaintiff

   to an award of punitive damages. Defendant Curran participated in and/or condoned the

   extreme and outrageous conduct, rendering Defendant CityMac liable for punitive

   damages.

                                        COUNT VII

                (Tortious Interference with Prospective Economic Advantage)

80. Plaintiff reasserts the allegations set forth in the above paragraphs.

81. On January 3, 2020 Plaintiffs received an offer of employment from Brian Cox,

   Managing Director of Northwestern Mutual contingent upon a successful background

   check.

82. Plaintiff subsequently posted on his Facebook page that he was interviewing with

   Northwestern Mutual and believed he had an imminent job offer. At least one coworker

   is friends with Plaintiff on Facebook. On information and belief, Defendants thereby

   became aware of Plaintiff’s job offer from Northwestern Mutual.

83. Defendants, without justification, purposefully filed a false police report accusing

   Plaintiff of embezzlement and stating he has violent tendencies, in order to induce

   Northwestern Mutual from entering into the employment agreement with Plaintiff.

84. On February 3, 2020, Brian Cox called Plaintiff and stated “they are rescinding their offer

   based on the allegations by CityMac.” Cox emailed Plaintiff the results of the background

   check which showed the warrant out for his arrest based on embezzlement charges by

   CityMac.



                                              13

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 13 of 15
85. Defendants’ purposeful conduct, in fact, induced Northwestern Mutual to refrain from

   entering into an employment contract with Plaintiff, which would have been made absent

   Defendants’ purposeful interference.

86. Defendants’ conduct was not privileged or justified.

87. As an actual, proximate, and foreseeable result of the above-mentioned actions, Plaintiff

   has suffered lost back and front pay, lost benefits, severe emotional distress, severe

   physical distress, anxiety, depression, embarrassment, humiliation, physical pain and

   suffering, and his peace of mind has been disturbed.

88. Defendants’ conduct was done with malice and was willful and wanton, entitling Plaintiff

   to an award of punitive damages. Defendant Curran participated in and/or condoned the

   tortious interference with prospective economic advantage, rendering Defendant CityMac

   liable for punitive damages.

                                  PRAYER FOR RELIEF

     WHEREFORE, Plaintiff demands and prays for:

   a) An Order pursuant to Section 16(b) of the FLSA finding Defendants liable for unpaid

       back wages due to Plaintiff and for liquidated damages equal in amount to the unpaid

       compensation found due to Plaintiff;

   b) An Order pursuant to the NCWHA finding Defendants liable for unpaid back wages,

       commissions, and liquidated damages equal in amount to the unpaid compensation

       due to Plaintiff;

   c) An Order awarding compensatory damages in an amount to be proven at trial;

   d) An Order awarding punitive damages under N.C. Gen. Stat. § 1D-115 in an amount to

       be proven at trial;



                                            14

 Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 14 of 15
 e) An Order awarding the costs of this action;

 f) An Order awarding reasonable attorneys’ fees;

 g) A Declaration and finding by the Court that Defendants willfully violated provisions

     of the FLSA by failing to comply with the minimum wage requirements of the FLSA;

 h) An Order awarding pre-judgment and post-judgment interest at the highest rates

     allowed by law; and

 i) An Order granting such other and further relief as may be necessary and appropriate.



                              JURY TRIAL DEMAND

 Plaintiff demands a trial by jury for all issues of fact.



                                         Respectfully submitted,

                                         /s/ L. Michelle Gessner
                                         L. Michelle Gessner, NCSB#26590
                                         GESSNERLAW, PLLC
                                         602 East Morehead Street
                                         Charlotte, North Carolina 28202
                                         Tel: (704) 234-7442
                                         Fax: (980) 206-0286
                                         Email: michelle@mgessnerlaw.com




                                            15

Case 1:20-cv-00033-MOC-WCM Document 1 Filed 02/05/20 Page 15 of 15
